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                         IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                          TYLER DIVISION



UNITED STATES OF AMERICA                          §

v.                                                §                 CRIM. ACTION NO. 6:09CR53

RONALD JACK EDWARDS                               §




                             ORDER ADOPTING REPORT AND
                          RECOMMENDATION OF UNITED STATES
                                 MAGISTRATE JUDGE




       The Report and Recommendation of the Magistrate Judge, which contains her findings,

conclusions, and recommendation for the disposition of a petition claiming an interest in property

in this case has been presented for consideration. The Report and Recommendation recommends

that the Petition of Van Zandt County, Texas, et al., for Adjudication of Interest in Property 1805

VZ CR 4614, Ben Wheeler, Texas (document #280) be dismissed and that a Final Order of

Forfeiture be entered as agreed to by the parties in their Stipulation. No written objections have been

filed. The Court therefore adopts the findings and conclusions of the Magistrate Judge as those of

the Court.

       In light of the foregoing, it is

       ORDERED that Petition of Van Zandt County, Texas, et al., for Adjudication of Interest in

Property 1805 VZ CR 4614, Ben Wheeler, Texas (document #280) is DISMISSED as resolved. As

agreed to by the parties, the interest of Van Zandt County, Texas, and Van Independent School



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District in the property located at 1805 VZ CR 4614, Ben Wheeler, Texas, is valid and the

Government shall pay the ad valorem taxes assessed on the property through the date of a final order

of forfeiture together with interest as allowed by law.


                   So ORDERED and SIGNED this 16th day of November, 2010.




                                                                  __________________________________
                                                                  LEONARD DAVIS
                                                                  UNITED STATES DISTRICT JUDGE




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